                          UNITED STATES BANKRUPTCY COURT
                        FOR THE EASTERN DISTRICT OF MICHIGAN
                                  SOUTHER DIVISION

In Re:

DOUGLAS L. SCHOFIELD and                                        No. 04-50797-SWR
KIMBERLY A. SCHOFIELD,                                          Chapter 7
                                                                Judge Rhodes
         Debtors.

____________________________________/

    MOTION TO APPROVE SETTLEMENT OF TRUSTEE’S POTENTIAL CLAIM
       TO DEBTORS’ NON-EXEMPT EQUITY IN DEBTORS’ RESIDENCE

         David W. Allard, Chapter 7 trustee of the estate of Douglas L. Schofield and Kimberly A.

Schofield. (the “Debtors”), by his counsel, Allard & Fish, P.C., states:

                                         JURISDICTION

         1.     Jurisdiction to consider this matter is vested in this Court pursuant to 28 U.S.C.

§§157 and 1334. This is a core proceeding pursuant to 28 U.S.C. §157(b). Venue is proper

before this Court pursuant to 28 U.S.C. §§1408 and 1409.

                                        INTRODUCTION

         2.     On April 13, 2004, the Debtors filed a Voluntary Petition under chapter 7 of the

U.S. Bankruptcy Code (the “Code”).

         3.     David W. Allard (the “Trustee”) is the duly appointed and acting Chapter 7

Trustee of the Debtors’ estate.

         4.     Included in property of the Debtors= estate is the Debtors' residence located at

7075 Winn Road, Yale, MI, 48097 (the "Residence").




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        5.     On March 17, 2005, this Court entered Order Authorizing Trustee to Employ

Special Counsel, said Special Counsel was hired to help assist the Debtors settling this matter

without the Trustee having to market and sell the Residence.

        6.     Since that time, Special Counsel and the Trustee have worked with the Debtors to

facilitate the Debtors being able to settle with the Trustee.

        7.     The Trustee believes that settling this matter with the Debtors instead of

marketing and selling the Residence is in the best interest of the bankruptcy estate and the

Debtors’ creditors because it will avoid the costs, fees, and uncertainty that would be associated

with marketing and selling the Residence.

        8.     The Trustee, the Debtors, and the Debtors’ attorney agree that the Residence is

worth approximately $234,500, which is the average of two independent appraisals.

        9.     As such, the Trustee, the Debtors, and the Debtors’ attorney agree that there is

approximately $29,871 in equity in the Residence, and the Debtors’ have agreed to pay to the

Trustee the non-exempt equity of $29,871.

        10.    Subject to approval of the Court, the Debtors have agreed to remit the agreed non-

exempt equity of $29,871 in installment payments: The Debtors have remitted the first

installment payment of $13,000 to the Trustee (which is currently being held in escrow pending

Court order) and the Debtors have agreed to remit the remaining $16,871 on or before May 24,

2006.

                 STANDARDS FOR APPROVAL OF THE SETTLEMENTS

        11.    Rule 9019(a) of the Federal Rules of Bankruptcy Procedure provides that “on

motion by the trustee after notice and a hearing, the court may approve a compromise or

settlement,” but “the court need not conduct a ‘mini trial on the merits . . . of [the] settlement.’”

In re Dow Corning Corp., 198 B.R. 214, 222 (Bankr. E.D. Mich. 1996). In evaluating a




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proposed settlement, the court should be guided by the precept that the law favors compromise.

Id. at 221.

          12.        In considering whether to approve a settlement as being in the best interests of the

estate, the court should consider, among other things: (i) the probability of success in the

litigation; (ii) the difficulty in collecting a judgment ultimately obtained in the litigation; (iii) the

complexity of the litigation involved, and the expense, inconvenience and delay necessarily

attending it; and (iv) the interests of creditors, giving proper deference to their reasonable views.

Protective Committee of Independent Stockholders of TMT Trailer Ferry, Inc. v. Anderson, 390

U.S. 414, 424, reh’g denied 391 U.S. 709 (1968); In re Fishell, 47 F.3d 1168, 1995 WL 66622, at

3 (6th Cir. Feb. 16, 1995); In re Energy Cooperative, Inc., 836 F.2d 921 (7th Cir. 1989); In re A &

C Properties, 784 F2d 1377 (9th Cir. 1986).

          13.        The Trustee, in recommending that the Court approve the proposed settlement,

has given due weight to the four criteria set forth above and believes that the proposed settlement

is fair and equitable and in the best interest of the estate and the Debtors’ creditors. In particular,

the Trustee has taken into consideration the expenses, costs, and risks of marketing and selling

the Residence.

          WHEREFORE, the Trustee respectfully requests that the Court approve the settlement

with the Debtors described above.



                                                               ALLARD & FISH, P.C.

                                                               /S/Colin T. Darke
                                                               Attorneys for Trustee
                                                               2600 Buhl Building
                                                               535 Griswold
                                                               Detroit, MI 48226
                                                               (313) 961-6141
                                                               Email: cdarke@allardfishpc.com
                                                               P68294
Dated: January 26, 2006
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                         UNITED STATES BANKRUPTCY COURT
                       FOR THE EASTERN DISTRICT OF MICHIGAN
                                 SOUTHER DIVISION

In Re:

DOUGLAS L. SCHOFIELD and                                        No. 04-50797-SWR
KIMBERLY A. SCHOFIELD,                                          Chapter 7
                                                                Judge Rhodes
         Debtors.

____________________________________/

    ORDER GRANTING MOTION TO APPROVE SETTLEMENT OF TRUSTEE’S
             POTENTIAL CLAIM TO DEBTORS’ NON-EXEMPT
                  EQUITY IN DEBTORS’ RESIDENCE

         The matter having come before the Court on the Trustee’s Motion to Approve Settlement
of Trustee’s Potential Claim to Debtors’ Non-Exempt Equity in Debtors’ Residence (the
“Motion”); notice of the Motion having been duly and properly served; no objections to or other
responses to the Motion having been filed; and the Court having been duly advised in the
premises;
         NOW THEREFORE, IT IS ORDERED that the Motion shall be, and is hereby, approved
in all respects. Specifically, the Trustee is authorized to accept $29,871 from the Debtors for the
non-exempt equity in the Debtors’ Residence (as that term is defined in the Motion).
         IT IS FURTHER ORDERED that the Debtors shall remit the remaining $16,871 of the
settlement amount (having already remitted $13,000 to the Trustee which is being held in escrow
pending this Order) to the Trustee on or before May 24, 2006.
         IT IS FURTHER ORDERED that the Trustee shall be, and is hereby, authorized to do all
acts and things necessary to consummate the settlement described in the Motion.




                                        EXHIBIT A
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                          UNITED STATES BANKRUPTCY COURT
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                                  SOUTHER DIVISION

In Re:

DOUGLAS L. SCHOFIELD and                                        No. 04-50797-SWR
KIMBERLY A. SCHOFIELD,                                          Chapter 7
                                                                Judge Rhodes
         Debtors.

____________________________________/


 NOTICE OF MOTION TO APPROVE SETTLEMENT OF TRUSTEE’S POTENTIAL
   CLAIM TO DEBTORS’ NON-EXEMPT EQUITY IN DEBTORS’ RESIDENCE

        David W. Allard, the Chapter 7 Trustee (the “Trustee”) has filed a Motion to Approve
Settlement of Trustee’s Claim to Debtors’ Non-Exempt Equity in Debtors’ Residence (the
“Motion”). As more fully set forth in the Motion, the Trustee and the Debtors have agreed to
settle the Trustee’s potential claim to Debtors’ non-exempt equity in the Debtors’ residence
located at 7075 Winn Road, Yale, Michigan 48097, for $29,871. The settlement consists of the
Debtors remitting an initial payment of $13,000 and remitting the remaining funds of $16,874 on
or before May 24, 2006.

       Your rights may be affected. You should read these papers carefully and discuss
them with your attorney, if you have one in this bankruptcy case. (If you do not have an
attorney, you may wish to consult one.)

       If you do not want the Court to grant the relief requested in the Motion (i.e., settling with
the Potential Defendants) or if you want the Court to consider your views on the Motion, within
20 days, you or your attorney must:

       If you mail your response to the Court for filing, you must mail it early enough so the
Court will receive it on or before the deadline stated above.

         1.     File with the Court a written response or an answer, explaining your position at:

                U.S. Bankruptcy Court
                211 West Fort St., Suite 2100
                Detroit, MI 48226

         You must also mail a copy to:




                Colin T. Darke, Esq.

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                     Allard & Fish, P.C.
                     535 Griswold, Suite 2600
                     Detroit, Michigan 48226

       2.      If a response or answer is timely filed and served, the clerk will schedule a
hearing on the Motion and you will be served with a notice of the date, time and location of the
hearing.

       If you or your attorney do not take these steps, the Court may decide that you do
not oppose the relief sought in the Motion and may enter an order granting that relief.

                                                               ALLARD & FISH, P.C.


                                                               /S/Colin T. Darke
                                                               Attorneys for Trustee
                                                               2600 Buhl Building
                                                               535 Griswold
                                                               Detroit, MI 48226
                                                               (313) 961-6141
                                                               Email: cdarke@allardfishpc.com
                                                               P68294


Dated: January 26, 2006
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                                            SOUTHERN DIVISION

   In re:

   DOUGLAS L. SCHOFIELD and                                                 No. 04-50797-SWR
   KIMBERLY A. SCHOFIELD,                                                   Chapter 7
                                                                            Judge Rhodes
             Debtor.

   ____________________________________/

                                             CERTIFICATION OF SERVICE

        I, Regina Drouillard, hereby certify that on January 26, 2006, I electronically filed the foregoing:

        Motion to Approve Settlement of Trustee’s Potential Claim to Debtors’ Non-exempt
        Equity in Debtors’ Residence; and

        Notice of Motion to Approve Settlement of Trustee’s Potential Claim to Debtors’ Non-exempt
        Equity in Debtors’ Residence (the “Notice”).

With the Clerk of the Court using the ECF system which will send notification of such filing to the

following:

        Office of the U.S. Trustee                          Frank A. Simasko, Esq.

and I hereby certify that I have mailed by United States Postal Service the Papers to the following non-

ECF participant:

         See list attached.


                                                                  ALLARD & FISH, P.C.


                                                                  /S/Regina Drouillard
                                                                  2600 Buhl Building
                                                                  535 Griswold
                                                                  Detroit, MI. 48226
                                                                  (313) 961-6141
   Dated: January 26, 2006
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Label Matrix for local noticing                  David W. Allard                              Bank One
0645-2                                           2600 Buhl Building                           25505 W. 12 Mile Ste. 1
Case 04-50797-swr                                535 Griswold                                 Southfield MI 48502
Eastern District of Michigan                     Detroit, MI 48226-3697
Detroit
Thu Jan 26 12:22:42 EST 2006
CIT Group Equipment Finance                      Citi Capital Commercial Corp.                Comerica Bank
Regency Credit LLC                               30150 N. Telegraph Rd. Suite 444             500 Woodward Ave.
4246 E. Wood ST. #500                            Bingham Farms MI 48025                       Detroit MI 48226
Phoenix AZ 85040


Consumers Energy ( By: L.S. Hajduk)              Financial Federal Credit, Inc.               Huntington National Bank
2400 Weiss, Room 113                             1300 Post Oak Blvd. Suite 1300               P.O. Box 2059
Saginaw MI 48602                                 Houston TX 77056                             Columbus OH 43216-2059



Information Leasing                              INTERNAL REVENUE SERVICE                     Kevin Rinke
Delta Management Group                           CENTRALIZED INSOLVENCY OPERATIONS            295 Henley
2499 Rice Street Suite 245                       PO BOX 21126                                 Birmingham MI 48009
St Paul MN 55113                                 PHILADELPHIA PA 19114-0326


Michigan State Department Of Treasury            National City                                Steven W. Rhodes
PO Box 15128                                     P.O. Box 856176                              2
Lansing MI 48901                                 Louisville KY 40285-6176                     211 West Fort Street
                                                                                              Room 1800
                                                                                              Detroit, MI 48226

Douglas L. Schofield                             Kimberly A. Schofield                        Frank A. Simasko
7075 Winn Rd.                                    7075 Winn Rd.                                822 Tenth Avenue
Yale, MI 48097                                   Yale, MI 48097                               Port Huron, MI 48060



State of MI Dept. of Treasury                    Tri-County Bank                              End of Label Matrix
Peggy Housner                                    7514 S. Brockway                             Total addresses 19
3030 W. Grand Blvd., 10th Fl.                    Yale MI 48097




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